
In re Williams, Barry; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. H, No. 259-820; to the Court of Appeal, Fourth Circuit, No. 2014-K-0409.
Denied. The decision in Miller v. Alabama, 567 U.S. —, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012) does not apply retroactively in relator’s case. See State v. Tate, 12-2763 (La.11/5/13), 130 So.3d 829, cert. denied, Tate v. Louisiana, — U.S. —, 134 S.Ct. 2663, 189 L.Ed.2d 214 (2014).
